Case 2:17-cv-00264-JDL Document 66 Filed 06/19/19 Page 1 of 3                          PageID #: 177




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

                                             Civil Action No. 17-cv-00264-JDL

SUSAN JOHNSON, individually and on
behalf of her minor son B.L., and on behalf
of DERRICK THOMPSON, deceased,
    Plaintiff

v.

CITY OF BIDDEFORD, BIDDEFORD
POLICE DEPARTMENT, a Municipal
Corporation organized and existing under
the laws of the State of Maine; MAINE
DEPARTMENT OF PUBLIC SAFETY, a
state agency organized under the laws of the
State of Maine; JOHN E. MORRIS,
individually and as the Commissioner of the
Maine Department of Public Safety; ROGER
BEAUPRE, individually and as Chief of
Biddeford Police Department; EDWARD
DEXTER, individually and as an employee
of the Biddeford Police Department; JACOB
WOLTERBEEK, individually and as an
employee of the Biddeford Police
Department and JANE DOE,
    Defendants

     DEFENDANTS, CITY OF BIDDEFORD, BIDDEFORD POLICE DEPARTMENT,
        ROGER BEAUPRE, EDWARD DEXTER, AND JACOB WOLTERBEEK’S
                    MOTION FOR SUMMARY JUDGMENT

        NOW COMES the Defendants the City of Biddeford, Roger Beaupre, Edward Dexter, and

Jacob Wolterbeek, (“Defendants”), pursuant to Federal Rules of Civil Procedure Rule 56, who

hereby move this Honorable Court for summary judgment on all claims made against them in the

Plaintiff’s Complaint in the matter of Susan Johnson v. Biddeford Police Dept., et al. 2:17-cv-00264 -JDL

(“Johnson Complaint”) and all claims made against them in the Plaintiff’s Complaint in the

consolidated matter of Jocelyne Welch v. City of New Bedford, et al. 2:18-cv-00160-JDL (“Welch

Complaint”).
Case 2:17-cv-00264-JDL Document 66 Filed 06/19/19 Page 2 of 3                    PageID #: 178




       If the Court so finds that judgment as a matter of law on all claims or Defendants is

improper, the Defendants respectfully request judgment on those claims and parties as the Court

sees fit. The Defendants submit a memorandum of law herewith.



                                                   Respectfully submitted,
                                                   Defendants, City of Biddeford, Biddeford Police
                                                   Department, Roger P. Beaupre, Edward Dexter
                                                   and Jacob Wolterbeek,
                                                   By their attorney,


                                                   _/s/ Douglas I. Louison __________________
                                                   Douglas I. Louison (BBO# 008288)
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                                                   Joseph A. Padolsky (BBO# 006251)
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                                                   (617) 439-0305




       Dated: June 19, 2019




                                               2
Case 2:17-cv-00264-JDL Document 66 Filed 06/19/19 Page 3 of 3                    PageID #: 179




                                  CERTIFICATE OF SERVICE

     I, hereby certify that this document filed through the ECF system will be sent electronically
    to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
    copies will be sent to those indicated as non-registered participants as listed below:


                                            /s/ Douglas I. Louison
                                            Douglas I. Louison

    Dated: June 19, 2019


                    CERTIFICATION PURSUANT TO LOCAL RULE 7.1

            Undersigned counsel hereby certifies pursuant to Local Rule 7.1(A)(2) that counsel
    conferred in good faith with counsel for the plaintiff in an effort to resolve and/or narrow
    the issues related to the above captioned motion.

                                            /s/ Douglas I. Louison
                                            Douglas I. Louison

    Dated: June 19, 2019




                                               3
